EXHIBIT J
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1                     UNITED STATES DISTRICT COURT
2                    SOUTHERN DISTRICT OF NEW YORK
3                          CASE NO.:            20-CV-3699
4       PDV USA, INC.,
5                         Plaintiff,
6       vs.
7       INTERAMERICAN CONSULTING INC.,
8                         Defendant.
        ________________________________/
9
10
11                       VIDEOTAPED DEPOSITION OF
12                  INTERGLOBAL YACHT MANAGEMENT, LLC
13                            BY:       JOEL BRAKHA
14
15
16                       Monday, February 28, 2022
                          10:07 a.m. - 2:58 p.m.
17
18
19                        Alexander F. Fox, P.A.
                      1 Alhambra Plaza, Suite 1225
20                         Coral Gables, Florida
21
22
23                    Stenographically Reported By:
                         Gina Rodriguez, RPR, CRR
24
25

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2
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25

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1       APPEARANCES CONTINUED:
2       ALSO PRESENT:
3       Michael Montalvo, Videographer
4       David Rivera
5
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10                    Documents
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4                    Incorporated and PG and
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1                     THE VIDEOGRAPHER:          Good morning.        We're now
2              on the video record.           My name is
3              Michael Montalvo on behalf of Veritext Legal
4              Solutions.    Today is Monday, February 28, 2022.
5              And the time is 10:07 a.m.               This is the
6              deposition of Joel Brakha in the matter of
7              PDV USA Inc. versus Interamerican Consulting
8              Inc.
9                     May counsel please state their appearances
10             for the record and after this the court reporter
11             will swear in the witness.
12                    MR. SULLIVAN:       Brady Sullivan for PDV USA.
13                    MR. JOHNSON:       Jason Johnson of the
14             Byrd Campbell firm of Winter Park, Florida for
15             Interamerican Consulting.
16                    MR. GARDANA:       Robert Gardana and
17             Alexander Fox on behalf of the deponent.
18                    MR. KORN:     Jeffrey Korn of Willkie Farr &
19             Gallagher.
20                    THE COURT REPORTER:           Raise your right hand,
21             please.
22                    Do you swear that the testimony you're
23             about to give will be the truth, the whole
24             truth, and nothing but the truth?
25                    THE WITNESS:       Yes.

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1       Thereupon:
2                                JOEL BRAKHA,
3       having been first duly sworn, was examined and
4       testified as follows:
5                           DIRECT EXAMINATION
6       BY MR. SULLIVAN:
7              Q.    Good morning, Mr. Brakha.
8              A.    Good morning.
9              Q.    Could you please state your full name for
10      the record.
11             A.    Joel Brakha.
12             Q.    What is your current occupation?
13             A.    Yacht broker.
14             Q.    For whom?
15             A.    Interglobal Yacht Sales.
16             Q.    Is there any reason you're not able to
17      provide truthful testimony today?
18             A.    No.
19             Q.    Do you understand that you're under oath
20      for today's deposition?
21             A.    Yes.
22             Q.    Ground rules for today are pretty simple.
23      I'll ask you questions, you'll answer them.         I'll
24      just ask that you please let me finish my question
25      before giving your answer, and, likewise, I'll try to

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1                       Okay.   Do you see where it says:     "Terms
2       and Recitals"?
3               A.      Yes.
4               Q.      Okay.   And then one, two paragraphs, it
5       says:        "Whereas the subcontractor wishes to provide
6       international strategic consulting services as the
7       contractor and the client may from time to time
8       require."
9               A.      Yes.
10              Q.      And it's your testimony that
11      Interglobal Yacht Management or Interglobal Yacht
12      Sales never provided such consulting services?
13              A.      Correct.
14              Q.      Okay.   If you go down to Paragraph
15      Number 3, "Duties of a Subcontractor."
16                      Do you see that?
17              A.      Yes.
18              Q.      "It shall be the subcontractor's duty to
19      provide the contractor and the client with
20      international strategic consulting to best serve the
21      contractor's ability to fulfill its agreement with
22      the client."
23                      Do you see that?
24              A.      Yes.
25              Q.      And, again, did Interglobal Yacht

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1       Management ever provide international strategic
2       consulting services in connection with this contract?
3              A.   No.
4              Q.   Do you know what international strategic
5       consulting services means?
6              A.   No.
7                   Again, it was for a real estate deal, as
8       far as I know, and that's . . .
9              Q.   Did Interglobal Yacht Management ever act
10      as a subcontractor for Interamerican Consulting?
11             A.   No.
12             Q.   Did you communicate to Mr. Rivera when you
13      met with him about this document that you do not
14      agree to its terms?
15             A.   I don't recall.        I just know that I didn't
16      sign it, and I said -- I kind of read quickly, and I
17      said, "I think this has nothing to do with me.          I
18      think it's probably a wrong company, a wrong focus,"
19      or whatever you want to call it, and said -- that's
20      as far as I can remember.
21             Q.   And you never signed this contract, ever?
22             A.   Never.
23             Q.   Okay.    Was this contract ever performed?
24             A.   I don't know.
25             Q.   You don't know.

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1                    "David."
2                    Do you see that?
3               A.   Uh-huh, yes.
4               Q.   What were you discussing with Mr. Rivera
5       here?
6               A.   The meeting that he was coming to the
7       office, which I didn't know what for, and then showed
8       up with this contract.         And I told him, you know,
9       "I'm not signing it.        I think this has nothing do
10      with me.     I will speak to Gorrin about it and get
11      back to you."
12              Q.   As far as I can tell, here are the first
13      text messages from you to Mr. Rivera; is that
14      correct?
15              A.   Correct.
16              Q.   Did you have Mr. Rivera's number saved in
17      your phone?
18              A.   No.
19              Q.   Okay.
20              A.   That's why it says -- it doesn't say David
21      Rivera here; it says just the phone number.
22              Q.   Understood.
23                   How did you get Mr. Rivera's phone number?
24              A.   I don't recall.        I don't know if it was
25      given by Raul or Gorrin or he called me and -- I

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1                   Do you have that with you?
2              A.   Yes.
3              Q.   Okay.     And you testified earlier that
4       during your meeting with Mr. Rivera, he handed you
5       this document; is that correct?
6              A.   Correct.
7              Q.   And we just looked at the text message, and
8       we saw that that meeting occurred on March 8th, 2018.
9       Do you recall that?
10             A.   I don't recall.
11             Q.   Okay.     Direct your attention back to
12      Exhibit 10.     Do you see the date of the second text
13      message, March 8th, 2018?
14             A.   Uh-huh.
15             Q.   Okay.     And do you see -- that's the first
16      text message.       Can you please turn the page.
17                  Do you see where it says:              "Thanks again
18      for seeing me"?
19             A.   Yes.
20             Q.   Okay.     And that's on March 8th, 2018?
21             A.   Uh-huh.
22             Q.   Okay.     And if you can look back at
23      Exhibit 8, "The Subcontracting Agreement."
24             A.   Okay.
25             Q.   And your testimony is that during the

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1       meeting with Mr. Rivera on March 8th, 2018, he handed
2       you this document; is that correct?
3              A.    Correct.
4              Q.    Okay.   Do you see at the bottom that the
5       document is signed by David Rivera or at least a
6       signature above David Rivera's name; do you see that?
7              A.    Yes.
8              Q.    Okay.   And do you see where it says:
9       3/20/2017?
10             A.    Yeah, I just saw it.
11             Q.    Okay.   Do you know why Mr. Rivera was
12      handing you a contract dated 2017 during a meeting in
13      March of 2018?
14             A.    No idea.
15             Q.    But you received the payments from
16      Interamerican in 2017, that was your testimony,
17      right?
18             A.    That was whatever we sent to you in the
19      banking records, that's what . . .
20             Q.    And were those payments received in
21      connection with the phone call you had with
22      Mr. Gorrin?
23             A.    Yes.
24             Q.    Do you recall how far apart in time the
25      phone conversation with Mr. Gorrin was and the

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1              A.   That the money was received for the yacht
2       expenses.
3              Q.   So you just testified that the money was
4       received by Interglobal Yacht Management; is that
5       correct?
6              A.   Yes.
7              Q.   Okay.   Who told you that the money was to
8       be used for Mr. Gorrin's yacht?
9              A.   Himself.
10             Q.   Mr. Gorrin told you?
11             A.   Yes.
12             Q.   I did the math.         Am I correct that in
13      between March 31st, 2017 and April 24th, 2017,
14      Interglobal Yacht Management received $3.75 million
15      from Interamerican Consulting; isn't that right?
16             A.   Yes.
17             Q.   Do you know why Interamerican Consulting
18      sent $3.75 million to Interglobal Yacht Management
19      during early 2017?
20             A.   To cover for the expenses of the yacht and
21      his family yacht.
22             Q.   And you testified earlier that your
23      understanding is that this money came from a
24      real estate deal between Mr. Rivera and Mr. Gorrin;
25      is that right?

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1               A.   That's what I was told, yes.
2               Q.   By Mr. Gorrin?
3               A.   Gorrin, yes.
4                    MR. SULLIVAN:     I would like to mark the
5               next Exhibit 18.
6                    THE COURT REPORTER:         17.
7                    MR. SULLIVAN:     17.
8                    (Thereupon, marked as Exhibit 17.)
9       BY MR. SULLIVAN:
10              Q.   Sir, do you recognize this email?
11              A.   Yes.
12              Q.   Did you write it?
13              A.   Yes.
14              Q.   And you sent it to Mr.             Gorrin on
15      September 5th, 2017?
16              A.   Yes, whatever it says there.
17              Q.   This email was maintained by
18      Interglobal Yacht Management in the ordinary course
19      of business?
20              A.   Interglobal Yacht Sales, which is the only
21      email I've used to send and receive emails.
22              Q.   Understood.
23                   And what are you sending to Mr. Gorrin
24      here?
25              A.   That there was a hurricane around Miami,

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